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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,       )            CR NO. 07-00268-01 JMS
                                 )
           Plaintiff,            )            ORDER GRANTING IN PART AND
                                 )            DENYING IN PART DEFENDANT
      vs.                        )            NELSON GAITAN-AYALA’S
                                 )            MOTION FOR A NEW TRIAL
 NELSON GAITAN-AYALA, (01)       )
                                 )
           Defendant.            )
 _______________________________ )

   ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT
      NELSON GAITAN-AYALA’S MOTION FOR A NEW TRIAL

                                I. INTRODUCTION

              On October 7, 2008, a jury trial commenced against Defendant Nelson

 Gaitan-Ayala (“Defendant”) on five counts of the First Superceding Indictment

 (“FSI”) including: (1) conspiring to possess with intent to distribute and to

 distribute 500 grams or more of a substance containing a detectable amount of

 methamphetamine in violation of 21 U.S.C. § 846 (Count 1); (2) distributing 50

 grams or more of methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and

 (b)(1)(A) on November 16, 2006 (Count 6); (3) distributing 50 grams or more of

 methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) on March

 23, 2007 (Count 7); (4) using a communication facility in causing and facilitating

 the commission of a conspiracy to possess with intent to distribute and to distribute
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 methamphetamine in violation of 21 U.S.C. § 843(b) on December 13, 2006

 (Count 11); and (5) using a communication facility in causing and facilitating the

 commission of a conspiracy to possess with intent to distribute and to distribute

 methamphetamine in violation of 21 U.S.C. § 843(b) on December 17, 2006

 (Count 12).

               In support of these Counts, the government called Corey Kaowili

 (“Kaowili”), who testified, among other things, that he purchased six pounds of

 methamphetamine from Defendant on November 17, 2006, and arranged to have

 an undercover police officer purchase one pound of methamphetamine from

 Defendant on March 23, 2007. Kaowili also explained numerous tape recordings

 of conversations between himself and Defendant and other co-conspirators which

 purportedly establish Defendant’s involvement in these transactions. During the

 time of these transactions, Kaowili was cooperating with the government and

 testified that he had given up dealing drugs as a way of giving back to the

 community.

               On October 17, 2008, the jury found Defendant guilty on the five

 Counts of the FSI. Assistant U.S. Attorney Susan Cushman (“AUSA Cushman”)

 later filed three “Notices of Newly Discovered Giglio Material” which disclosed

 that after the trial she learned of evidence that while cooperating with the


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 government in 2007, Kaowili purchased several kilograms of cocaine and five

 pounds of methamphetamine, and in 2002, the Drug Enforcement Administration

 (“DEA”) recovered $19,680 from Kaowili at the Honolulu International Airport.

 Doc. Nos. 583, 599, 608. Consequently, Defendant filed his Motion for a New

 Trial due to this late-disclosed evidence. Based on the following, the court finds

 that the government’s failure to disclose this information warrants a new trial on

 some of the Counts of the FSI and therefore GRANTS IN PART and DENIES in

 PART Defendant’s Motion for a New Trial.

                                II. BACKGROUND

 A.    The Trial

              Trial commenced on October 7, 2008 and after five days of testimony,

 the jury returned a verdict against Defendant on all Counts of the FSI on October

 17, 2008. The evidence presented is summarized as follows:

       1.     The Government’s Evidence

              During trial, the government presented testimony and evidence to

 support their contention that Defendant was involved in the transport and sale of

 methamphetamine on Oahu between 2005 and 2007.

              For example, Edward Tufele (“Tufele”) testified that he met with

 Defendant in 2005 so that Tufele could assist in the transport of methamphetamine


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 from Las Vegas to Hawaii by canning the methamphetamine in metal cans. Doc.

 No. 588, Trial Tr. 2-17-24. Tufele testified that he subsequently canned

 methamphetamine on two separate occasions and placed the canning machine in

 storage in Las Vegas before his December 2005 arrest. Id. at 2-124-31; see also

 Pl.’s Exs. 2 (rental agreement for storage unit), 21 (flight information for Tufele).

              Nathan Oandasan (“Oandasan”), Zaneta Nixon (“Nixon”), and Regina

 Costales (“Costales”) provided further details of the operation on Oahu. Oandasan

 testified that he received methamphetamine from Las Vegas, dropped it off to

 dealers in Hawaii, collected the money, and sent the money to Las Vegas. See

 Doc. No. 588, Trial Tr. 2-187-88. Oandasan further testified that he reported to

 John Ayala and Hector Cruz (“Cruz”), and was told that Defendant was the “boss.”

 Id. at 2-191. Oandasan and Nixon both testified about receiving methamphetamine

 through the mail which was packaged in metal cans, id. at

 2-187-88; Doc. No. 589, Trial Tr. 3-147; and Oandasan, Nixon, and Costales all

 testified regarding their travels to Las Vegas to transport proceeds from the drug

 sales to Defendant in Las Vegas. They explained that Defendant personally met

 each of them at the airport and collected the money. Doc. No. 588, Trial Tr.

 2-194 -200; Doc. No. 589, Trial Tr. 3-63-69, 3-151-52; Pl.’s Exs. 23 (flight

 information for Oandasan, Costales and Nixon), 25 (hotel information Oandasan,


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 Costales and Nixon).

              The government also presented testimony that Defendant (1) checked

 on the status of the Oahu portion of the drug operation by calling Oandasan and

 Costales, Doc. No. 588, Trial Tr. 2-192; Doc. No. 589, Trial Tr. 3-82; (2) came to

 Oahu in September 2006 for less than 24 hours purportedly to collect money from

 Oandasan, Doc. No. 588, Trial Tr. 2-201-02; Pl.’s Ex. 23 at 81, 83 (flight

 information for Defendant); (3) was aware he was under surveillance, Doc. No.

 589, Trial Tr. 3-162-63; Doc. No. 590, Trial Tr. 4-55; Pl.’s Ex. 61; and (4) spoke

 to a paid informant, who testified that Defendant was interested in a possible deal

 to transport drugs to Atlanta. Doc. No. 589, Trial Tr. 3-206-09. Nixon further

 testified that she visited Defendant in Las Vegas in November 2006 and told him

 that she was short on paying for the methamphetamine she had already received.

 Defendant assured her that she would still receive methamphetamine to sell, and

 Nixon received additional methamphetamine shortly thereafter. Doc. No. 589,

 Trial Tr. 3-151-52.

              Testimony and evidence was also admitted regarding

 methamphetamine deals in November 2006 and March 2007. Kaowili testified that

 he spoke with John Ayala and Raychel Cabral (“Cabral”) in 2006 about a

 transaction in which he would pay Defendant for six pounds of methamphetamine.


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 Doc. No. 590, Trial Tr. 4-64. Kaowili gave a tracking number for a package to

 Federal Bureau of Investigations (“FBI”) Special Agent Gary Byrd (“Special

 Agent Byrd”), who intercepted a package containing two sealed cans with

 methamphetamine on November 17, 2006. Doc. No. 590, Trial Tr. 4-19; Pl.’s Exs.

 26-31, 35A. On November 19, 2006, Defendant arrived on Oahu (again, for less

 than 24 hours), see Pl.’s Ex. 23 at 88; and Kaowili testified that Defendant told him

 to pay Cabral for the methamphetamine. Doc. No. 590, Trial Tr. 4-65-66.

 Subsequently, the FBI provided money to Kaowili to pay Defendant through Ayala

 and Cabral on December 7, 2006, December 17, 2006, and December 21, 2006,

 Doc. No. 590, Trial Tr. 4-23-28; Pl.’s Exs. 36-38, and mailed money on January

 26, 2007. Doc. No. 588, Trial Tr. 2-58-59; Pl.’s Ex. 39.

              The government further presented telephone recordings intercepted by

 the FBI between John Ayala and Cabral and Defendant around the dates of some of

 these payments which purportedly discuss Kaowili paying for the

 methamphetamine. On December 13, 2006, John Ayala told Defendant that he

 spoke with the “pretty one,” who Defendant clarified was the “long hair one.”

 Pl.’s Ex. 57A. John Ayala explained that this individual was going to “put

 something together for this weekend” and had previously tried to reach Defendant

 because he had “something” for Defendant. Id. At this time, Kaowili had long


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 hair at least to his mid-back. Doc. No. 588, Trial Tr. 2-57-58.

              On December 17, 2006, the same day the FBI gave Kaowili $10,000

 to pay Cabral, Cabral called John Ayala and informed him that “he only gave me

 ten” and that she “gotta wait I guess Friday.” Pl.’s Ex. 58. In a later conversation

 that same day between Defendant and John Ayala, Defendant told John Ayala to

 call “the long haired guy” and ask what is going on because “the people have

 already bought the stuff.” Pl.’s Ex. 59A. Defendant further told John Ayala:

              Call him now. Ask him: What’s up? Because it’s been now,
              now, now . . . it’s a lot of bull shit man. He’s done it to me
              before . . . last time, you remember all the mess I made with all
              the people. They were waiting and spending a lot. This is no
              game for us to go back forth. You went over there and now
              back again. You understand me? Hey, be firm . . . I’m just
              getting on my way over there right now, but call him right now.

 Pl.’s Ex. 59A.

              Beyond this evidence, Kaowili explained several taped conversations

 he had with Defendant, Cabral, and John Ayala in which the parties never directly

 used the words “drugs,” “methamphetamine, or “ice,” and at times instead talked

 about “derbies,” “roosters” and “cars.” See, e.g., Pl.’s Exs. 62-66. For example,

 Kaowili explained that the following November 7, 2006 conversation with John

 Ayala was regarding sending methamphetamine to Oahu:

              Kaowili:      . . . Remember, I told you, my friend going take
                           care da . . . we just, we just do ‘em the old way. I

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                          going give you the address. You send me up 2 or
                          3. And then I going da kine send you back the
                          money with my money. You know what I mean?
              John Ayala: Okay. Yeah.

 Pl.’s Ex. 63; see also Doc. No. 590, Trial Tr. 4-90.

              Kaowili also explained that the following March 19, 2007

 conversation with Defendant discussing a debt on an “old car” was really about his

 payment for the six pounds of methamphetamine:

              Kaowili:   He said about the, the, the, old, the old, the old,
                         you know that old bill I owe.
              Defendant: Yeah I know on the old car we have, used to have,
                         yeah.
              Kaowili:   Yeah, umm, I only owe ‘8’ on that, but he was
                         telling me for let you know, that you know
                         something.
              Defendant: Um-hum.
              Kaowili:   I was sending the money, and da kine came up and
                         got the money.
              Defendant: Oh good, OK, how much, how much . . .
              Kaowili:   I owe $8,000 more on it.
              Defendant: And how much you give to him?
              Kaowili:   I gave them, the last one, remember, remember we,
                         we agreed just pay for what the thing was, for the
                         six of them?
              Defendant: Oh yeah . . . .

 Pl.’s Ex. 70; see also Pl.’s Ex. 65.

              Regarding the March 2007 transaction, Kaowili introduced an

 undercover Honolulu police officer, Officer Keane Tabanera (“Tabanera”), to Cruz

 to purchase one pound of methamphetamine. Tabanera testified that he met Cruz

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 on March 14, 2007, but because the “chickens” (as Cruz referred to it), had not

 arrived yet, they had to meet again on another day. Doc. No. 590, Trial Tr.

 4-148-49.

                Kaowili then had a series of conversations with Cruz and Defendant

 during the evening hours of March 19, 2007. In the first conversation, Cruz tells

 Kaowili to speak with “Uncle,” Defendant’s nickname:

                Cruz:          (unintelligible) . . . alright-alright, here we go, OK,
                               you know what, um, I would like you talk to uncle
                               you know that way (unintelligible) we clear, make
                               it clear, that shit, you know what I mean? And
                               then um, especially, explain him everything, you
                               know, explain him what’s up and everything, you
                               know, that’s all I want and after-after-after he
                               pau[1] talk to you, he going to call me back, then I
                               call you back, oh (unintelligebly) to you, OK?
                Kaowili:       OK.

 Ex. 69.

                That same day, Kaowili then had the following conversation with

 Defendant:

                Defendant: . . . . so do you want to still fight roosters?
                Kaowili:   Yeah, yeah. (unintelligible) I told them the plan,
                           and I told him you know now now, I spoke to you


        1
          In Hawaiian, “pau” means “[f]inished, ended, through, terminated, completed, over, all
 done; final, finishing; entirely, completely, very much; after; all, to have all; to be completely
 possessed, consumed, destroyed.” Mary Kawena Pukui & Samual H. Elbert, Hawaiian
 Dictionary (Univ. of Haw. Press 1986).

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                           cousin[2] down here about how we going to fight
                           chicken and he kinda agrees with it, I going to
                           purchase one, I going to introduce, introduce him
                           to my cousin, and from there, we going to work
                           things out from there, instead of me, you know,
                           you know what I mean?
                Defendant: Yeah?
                ...
                Kaowili:   I got to build, because I, I, I like be, I going to be
                           involved, but I going to be out of sight, I going to
                           overlook the situation, you know what I mean?
                Defendant: Um hum.
                ...
                Defendant: Go, go and talk, yeah go and talk to him, and you
                           guys define the plan how you going to fight the
                           chickens, and then he’s going to let me know, you
                           know, and um, I, I’m here, I take care of them
                           here, I doing my part here, you know like now we
                           going to be straight um, you know any problem
                           understand, you call me this phone, right now here,
                           that you have right now, call me up, it’s going to
                           be um, only in like night time.
                Kaowili:   Oh, night time, this number?
                Defendant: Yeah, like night time I either call you, you know,
                           after, after six seven from here you can call me,
                           because I want to keep it off in the daytime, and
                           you know.
                Kaowili:   OK, OK, I talk to him, I don’t know
                           (unintelligible) um are we still fighting the um
                           chickens on Wednesday, or the derby got delayed?
                Defendant: Wednesday is (unintelligible) yeah, yeah, should
                           be (unintelligible) or like, I believe it going to be
                           Wednesday. Talk to him tomorrow, you guys can
                           talk to that cousin, and I can, I going to go talk to
                           him, and then from, from that you guys can just,


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           Cruz is related to Defendant by marriage. Doc. No. 591, Trial Tr. 5-116.

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                             you know, decide what you guys going to do there.

 Pl.’s Ex. 70.

                 After Kaowili spoke with Defendant, on that same day, Cruz called

 Kaowili and left the following message:

                 Cruz:       Hey bro, I think that everything is-is alright now, I
                             mean um, I mean you talked to him already so it’s
                             going to be cool, so um, I give you a call
                             Wednesday to see what’s up, OK? Let see if we
                             go buy some chickens or something. . . .

 Ex. 71.

                 On Wednesday, March 21, 2007, Kaowili and Cruz met, but no

 transaction occurred due to “trouble” in Mexico:

                 Cruz:       Um. We being here lately, we have a little trouble
                             because you know, that they fucked up in Mexico.
                             You know, the government.
                 Kaowili:    Uh.
                 Cruz:       (unintelligible) like I said. But uh, the deal right
                             now is that the thing is on the way now.
                 Kaowili:    No kidding. Okay.
                 Cruz:       It’s on the . . . it’s on the way of for you now.
                             Okay so, I just going call you. Uncle told me, he
                             will talk . . . calling you . . .

 Pl.’s Ex. 72.

                 Cruz then arranged for a meeting on Friday, March 23, 2007 at the

 Zippy’s restaurant in Wahiawa, Oahu:

                 Kaowili:    So where we going fight, though? When we going

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                          fight with Larry?
             Cruz:        Saturday. Uh Friday. Friday for sure.
             Kaowili:     For sure.
             Cruz:        But the other hundred percent, for sure Friday.
             Kaowili:     No meet someplace else or you know too much
                          time.
             Cruz:        Okay. Okay, I know. So what we gonna do.
             Kaowili:     So I going call you, and I . . .
             Cruz:        Let’s meet at Zippy’s Wahiawa.

 Id.

             On Friday, March 23, 2007, Tabanera met Cruz at the Zippy’s

 restaurant in Wahiawa and received one pound of methamphetamine in exchange

 for $25,000. Doc. No. 590, Trial Tr. 4-151-54; Pl.’s Exs. 43, 44A, 74. On this

 same day, Nixon received a pound of methamphetamine from Cruz, who told her

 that “Uncle” told him to sell the other pound to Kaowili. Doc. No. 589, Trial Tr. 3-

 156-57.

             On June 7, 2007, a search warrant was executed on Defendant’s

 residence in Las Vegas, where agents recovered $25,000 from Defendant’s

 bedroom closet, $10,000 in a cowboy boot, $2,000 from a bedroom drawer, and a

 .357 magnum pistol from the nightstand table. Doc. No. 589, Trial Tr. 3-189-91;

 Doc. No. 591, Trial Tr. 5-48-49; Pl.’s Exs. 46-53.

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       2.      Defendant’s Evidence

               On cross examination, Defendant impeached each of Plaintiff’s

 cooperating witnesses to some degree. For Oandasan, Nixon, and Costales,

 Defendant raised that they are all long-time drug users, are seeking lower sentences

 by assisting the government, and did not disclose Defendant’s alleged involvement

 in their drug dealings during their initial interviews with the government. On cross

 examination, Kaowili testified that he started taking drugs in the sixth grade, stole

 to support his habit, and then began selling drugs in intermediate school. Doc. No.

 590, Trial Tr. 4-114-15. Kaowili openly admitted that by 2001, he was selling two

 to three pounds of methamphetamine a week. Id. at 4-115-16. Kaowili explained,

 however, that he stopped selling drugs once he began cooperating with the

 government:

               Q.    And when you agreed to cooperate with the government,
                     basically you were trying to save yourself; right?
               A.    I mean I just was doing what I felt was the right thing to
                     do.
               Q.    And the right thing was to save yourself from going to
                     prison for life; right?
               A.    Save everybody else, giving back to the community and
                     the younger kids, less dope to the island.
               ...
               Q.    How were you going to give back to the community?
               A.    My way of giving back and to the kids, I mean the
                     younger generation: one less main supply of bringing
                     dope to the islands.


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 Id. at 4-117. As a result of his cooperation, Kaowili received a greatly reduced

 sentence of 46 months, well below the ten-year mandatory minimum. Id. at

 4-110. The government also had the option of filing a further motion for

 downward departure. Id. at 4-111-13.

              Defendant also called several witnesses. Erika Gaitan, Defendant’s

 daughter, testified that Defendant ran a legitimate car repair business, was actively

 involved in rooster fighting, and was not, to her knowledge, involved in drugs in

 any way. See generally Doc. No. 491, Trial Tr. 5-78-86. She further explained

 that the gun found in the house was her mother’s and that Defendant kept cash in

 the house for his car business and to gamble. Id. at 5-80-81. John Ayala, who pled

 guilty to drug charges, testified that his uncle, Defendant, was not involved in any

 of John Ayala’s drug activities and that Defendant had loaned money to Kaowili,

 who had difficulty repaying Defendant. Id. at 5-99-101.

 B.    The Government’s Post-Trial Giglio Disclosures

              On December 19, 2008, the government filed its “Notice of Newly

 Discovered Giglio Material,” which disclosed a statement made prior to

 Defendant’s trial by Holokai Mateialona (“Mateialona”) that he sold several

 kilograms of cocaine to Kaowili while he was cooperating with the government in

 2007. Doc. No. 583. On February 2, 2009, the government filed its “Supplemental


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 Notice of Newly Discovered Giglio Material,” which disclosed another statement

 made prior to Defendant’s trial by Mateialona that he delivered five pounds of

 methamphetamine to Kaowili in March 2007. Doc. No. 599. Finally, on March

 17, 2009, the government filed its “Second Supplemental Notice of Newly

 Discovered Giglio Material,” which disclosed that DEA Special Agent Richard

 Jones recovered $19,680.00 from Kaowili at the Honolulu International Airport on

 August 15, 2002. Doc. No. 608.

              During a March 19, 2009 hearing, AUSA Cushman provided a

 proffer, explaining that the Mateialona material was not intentionally withheld, but

 was not disclosed due to errors in cross-referencing files. The parties agree that

 there is no evidence of any intentional withholding of any of the Giglio materials,

 but that the government did act negligently.

                          III. STANDARD OF REVIEW

              “[S]uppression by the prosecution of evidence favorable to an accused

 upon request violates due process where the evidence is material either to guilt or

 to punishment.” Brady v. Maryland, 373 U.S. 83, 87 (1963). “Brady encompasses

 impeachment evidence as well as exculpatory evidence.” United States v.

 Antonakeas, 255 F.3d 714, 725 (9th Cir. 2001); see also Giglio v. United States,

 405 U.S. 150 (1952). In order to prevail on a Brady claim, a defendant United


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 States v. Jernigan, 492 F.3d 1050, 1053 (9th Cir. 2007) (en banc); see also

 Strickler v. Greene, 527 U.S. 263, 281-82 (1999); Banks v. Dretke, 540 U.S. 668,

 691 (2004); Kyles v. Whitley, 514 U.S. 419, 433 (1995).

              Evidence is material “if there is a reasonable probability that, had the

 evidence been disclosed to the defense, the result of the proceeding would have

 been different.” United States v. Bagley, 473 U.S. 667, 682 (1985); see United

 States v. Ross, 372 F.3d 1097, 1107 (9th Cir. 2004) (“Evidence is material and

 favorable if there is a reasonable probability that the disclosure of the evidence

 would have changed the trial’s result.”). “A defendant need not show that she

 would more likely than not have received a different verdict with the evidence.”

 Jernigan, 492 F.3d at 1054 (internal quotation marks omitted). Rather, a defendant

 “need only show ‘that the favorable evidence could reasonably be taken to put the

 whole case in such a different light as to undermine confidence in the verdict.’” Id.

 at 1054 n.7 (quoting Kyles, 514 U.S. at 435).

              The court must analyze the withheld evidence in context of the entire

 record and “undertake a careful, balanced evaluation of the nature and strength of

 both the evidence the defense was prevented from presenting and the evidence

 each side presented at trial.” Id. at 1054 (internal quotation marks omitted).




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                                  IV. DISCUSSION

              The parties do not dispute that the evidence at issue -- that Kaowili

 purchased several pounds of methamphetamine and cocaine in 2007 and was

 stopped at the Honolulu International Airport in 2002 with $19,680 -- was not

 disclosed until after the jury verdict. Further, this evidence is clearly favorable to

 Defendant as impeachment evidence of Kaowili. Accordingly, the relevant issue is

 whether this evidence is material, i.e., whether this evidence puts the case in such a

 different light as to undermine confidence in the verdict. The government argues

 that this evidence is cumulative of the other impeachment evidence available to

 Defendant such that a new trial is not warranted. In comparison, Defendant argues

 that this late-disclosed evidence requires a new trial on all counts of the FSI

 because it directly contradicts Kaowili’s testimony as a completely reformed drug

 dealer and Kaowili was the only witness to affirmatively link Defendant to the five

 Counts of the FSI. Def.’s Mot. 7.

              The court first addresses whether the impeachment evidence is

 cumulative, and, finding that it would have significantly impeached Kaowili,

 analyzes the significance of his testimony to the government’s case.

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 A.    Whether the Impeachment Evidence Is Cumulative

             In general, impeachment evidence is cumulative and not material

 where it “merely duplicate[s] grounds for impeaching [the witness] that were

 actually presented to the jury.” Barker v. Fleming, 423 F.3d 1085, 1096 (9th Cir.

 2005). The court must view the withheld evidence in the context of the entire

 record. See Kyles, 514 U.S. at 460.

             On cross examination, Defendant impeached Kaowili by raising,

 among other things, that Kaowili was hoping to reduce his sentence by cooperating

 with the government and sold two to three pounds of methamphetamine a week for

 years. Evidence that the government seized approximately $20,000 in 2002 is

 merely additional evidence of Kaowili’s admitted drug dealing during this same

 time period and therefore does not provide “the defense with a new and different

 ground of impeachment.” Silva v. Brown, 416 F.3d 980, 989 (9th Cir. 2005).

             Evidence that Kaowili continued to receive large amounts of drugs

 after he started cooperating with the government, however, is very different than

 the impeachment evidence presented at trial. On the stand, Kaowili portrayed

 himself as a completely reformed drug dealer -- he testified that once he began

 cooperating with the government he stopped selling drugs as a way to give back to

 the community and the “kids.” Indeed, by openly admitting to his extensive


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 involvement in the Hawaii methamphetamine trade, Kaowili actually bolstered that

 he was now telling the truth. Evidence that Kaowili continued to deal drugs would

 have provided powerful and unique evidence that Kaowili was not only fabricating

 his status as a reformed drug dealer, but that he deceived the government. Thus,

 this evidence would certainly have damaged Kaowili’s credibility in a way that the

 impeachment evidence known to Defendant did and could not. See Benn, 283 F.3d

 at 1055 (“The mere fact that a prosecution witness has a prior record, even when

 combined with other impeachment evidence that a defendant introduces, does not

 render otherwise critical impeachment evidence cumulative.”); United States v.

 Brumel-Alvarez, 976 F.2d 1235 (9th Cir. 1992), amended and superseded on other

 grounds by, 991 F.2d 1452, 1463 (9th Cir. 1993) (finding a Brady violation where

 the government withheld evidence that an informant made false claims to the

 government because the “[e]vidence that he lied during the investigation . . . would

 be relevant to his credibility and the jury was entitled to know of it”).

 Accordingly, the court concludes that the withheld evidence regarding Kaowili’s

 purchase of cocaine and methamphetamine would have created additional doubt as

 to Kaowili’s credibility.




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 B.    Significance of Kaowili’s Testimony to Each Count

              Because the withheld impeachment evidence would have created

 additional doubt as to Kaowili’s credibility, the court must analyze the significance

 of his testimony to the government’s case. Benn, 283 F.3d at 1059.

 In general, Kaowili was a significant witness for the government -- Kaowili was

 involved in the November 17, 2006 and March 23, 2007 drug deals and interpreted

 telephone conversations which purportedly link Defendant to these transactions

 and the drug business in general. Further, the other cooperating witnesses, Tufele,

 Oandasan, Costales, and Nixon, were all impeached to some degree. The court

 therefore performs a careful analysis of each Count of the FSI to determine

 whether the withheld evidence is material.

       1.     Counts 6, 11, and 12

              The court finds that Kaowili’s testimony was significant for Counts 6,

 11, and 12 of the FSI such that the withheld impeachment evidence puts these

 Counts in such a different light as to undermine the court’s confidence in the jury’s

 verdict.

              Regarding Count 6, distribution of 50 grams or more of

 methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A) on

 November 17, 2006, Kaowili testified that: (1) he spoke with John Ayala and


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 Cabral about a transaction in which he would pay Defendant for six pounds of

 methamphetamine, Doc. No. 590, Trial Tr. 4-64; (2) after the six pounds arrived on

 November 17, 2006, Defendant came to Kaowili’s house and told him to pay

 Cabral, id. at 4-65-66; and (3) he and Defendant and John Ayala discussed this

 transaction and Kaowili’s resulting debt in coded conversations that were recorded

 by the FBI. See, e.g., id. at 4-89-94. The remaining evidence establishes that

 (1) the FBI received from Kaowili the tracking number for a package from Las

 Vegas and found that it contained two sealed cans holding methamphetamine, id. at

 4-19; Pl.’s Exs. 26-31, 35A; (2) the FBI provided money to Kaowili to pay for the

 six pounds of methamphetamine, Doc. No. 590, Trial Tr. 4-23-28; Pl.’s Exs. 36-38;

 (3) Defendant traveled to Hawaii on November 19, 2006, Pl.’s Ex. 23 at 88; and

 (4) Kaowili and Defendant had telephone conversations after Kaowili received the

 methamphetamine. Pl.’s Exs. 64, 65, 70.

              Looking at the entirety of the evidence, it appears that Kaowili’s

 testimony was critical in bringing together all of the evidence to implicate

 Defendant in this transaction. Without Kaowili’s testimony, there is no evidence

 that directly and/or contemporaneously links Defendant to the November 17, 2006

 transaction. Setting aside Kaowili’s testimony, the closest evidence tying

 Defendant to this transaction is the phone conversations after the fact, but they


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 were not contemporaneous with the alleged drug deal and were ambiguous without

 anyone to explain their meaning.3 At most, these tape recordings establish that

 Kaowili owed Defendant money, and indeed, John Ayala testified that Defendant

 had loaned Kaowili money. Doc. No. 590, Trial Tr. 5-99-101. While it is true that

 the tape recordings and Defendant’s quick trip to Oahu are suspicious, the court

 cannot say with any confidence that had Kaowili been impeached with


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          For example, Kaowili testified that in the following conversation, Defendant told
 Kaowili to pay Cabral for the six pounds of methamphetamine and that he was willing to ship
 more drugs once payment is completed:

                Kaowili:        Ah, what, what, I give the, I give the tickets to da kine’s
                                girl? Raychel?
                Defendant:      Yeah, yeah, yeah. You know, when, when you ready, you
                                let me know. . . .

 Pl.’s Ex. 64; Doc. No. 590, Trial Tr. 4-91-92.
         Kaowili further testified that a March 19, 2007 conversation with Defendant regarding a
 debt on an “old car” was really about his payment for the six pounds:

                Kaowili:        He said about the, the, the, old, the old, the old, you know
                                that old bill I owe.
                Defendant:      Yeah I know on the old car we have, used to have, yeah.
                Kaowili:        Yeah, umm, I only owe ‘8’ on that, but he was telling me
                                for let you know, that you know something.
                Defendant:      Um-hum.
                Kaowili:        I was sending the money, and da kine came up and got the
                                money.
                Defendant:      Oh good, OK, how much, how much . . .
                Kaowili:        I owe $8,000 more on it.
                Defendant:      And how much you give to him?
                Kaowili:        I gave them, the last one, remember, remember we, we
                                agreed just pay for what the thing was, for the six of them?
                Defendant:      Oh yeah . . . .

 Pl.’s Ex. 70; see also Pl.’s Ex. 65.

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 the withheld evidence, a jury still would have concluded from this evidence that

 Defendant was involved with the sale of six pounds of methamphetamine.

             The court also finds that Kaowili’s testimony was integral to Counts

 11 and 12, using a communication facility in the commission of a conspiracy to

 possess with intent to distribute and to distribute methamphetamine on or about

 December 13, 2006 and December 17, 2006, respectively. The government put

 forth evidence that at the time of these calls Kaowili was paying money to Cruz

 and Cabral for the six pounds of methamphetamine that the FBI received on

 November 17, 2006. Id. at 4-23-28; Pl.’s Exs. 36-38. In a phone call intercepted

 by the FBI on December 13, 2006, John Ayala told Defendant that he spoke with

 the “pretty one,” purportedly Kaowili, Doc. No. 588, Trial Tr. 2-57-58, and that

 this individual was going to “put something together for this weekend” and had

 previously tried to reach Defendant because he had “something” for Defendant.

 Pl.’s Ex. 57A.

             On December 17, 2006, Special Agent Byrd gave Kaowili $10,000 to

 pay to Cabral. Pl.’s Ex. 37; Doc. No. 590, Trial Tr. 4-24. Cabral called John

 Ayala and informed him that “he only gave me ten” and that she “gotta wait I

 guess Friday.” Pl.’s Ex. 58. In a later conversation between Defendant and John

 Ayala that same day, Defendant told John Ayala to call “the long haired guy” and


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 ask what is going on because “the people have already bought the stuff.” Pl.’s Ex.

 59A. Defendant further told John Ayala:

              Call him now. Ask him: What’s up? Because it’s been now,
              now, now . . . it’s a lot of bull shit man. He’s done it to me
              before . . . last time, you remember all the mess I made with all
              the people. They were waiting and spending a lot. This is no
              game for us to go back forth. You went over there and now
              back again. You understand me? Hey, be firm. . . I’m just
              getting on my way over there right now, but call him right now.

 Pl.’s Ex. 59A.

              While Kaowili did not specifically testify to the meaning of these

 conversations, he provided the much-needed context that he had purchased six

 pounds of methamphetamine on November 17, 2006, and was repaying Defendant

 for these drugs during this time. Without believing Kaowili’s testimony linking

 Defendant to the methamphetamine, a jury may believe that these conversations

 were regarding the alleged legitimate debt that Kaowili owed Defendant.

              In sum, the court finds that the withheld impeachment evidence is

 material to Counts 6, 11, and 12 because it places them in such a different light that

 it undermines the court’s confidence in the verdict on these counts. See Banks v.

 Dretke, 540 U.S. 668, 701 (2004) (holding that suppressed evidence of a witness’s

 role as an informant was material where his testimony was the “centerpiece” of the

 prosecution’s case and noting that had the evidence been disclosed, the jury “might


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 well have distrusted [the informant’s] testimony, and, insofar as it was

 uncorroborated, disregarded it”); see also Silva v. Woodford, 279 F.3d 825, 854-55

 (9th Cir. 2002) (holding that an evidentiary hearing was warranted on a Brady

 claim involving a deal with a witness whose “credibility was a critical issue, given

 that he was the only witness who could identify [defendant] as the trigger man”).

 Accordingly, the court GRANTS Defendant’s Motion for a New Trial on Counts 6,

 11, and 12 of the FSI.

       2.     Counts 1 and 7

              Turning to the remaining counts of the FSI, its appears that Kaowili’s

 testimony played a much lesser role such that the withheld impeachment evidence

 is not material to Counts 1 and 7.

              Count 7 charges Defendant with distribution of 50 grams or more of

 methamphetamine on or about March 23, 2007. After a careful review of the all of

 the evidence, the court concludes that there is sufficient evidence to support

 conviction on this Count such that the withheld impeachment evidence is not

 material.

              To put this Count in context, the government presented significant

 evidence that Defendant was heavily involved in the methamphetamine trade from

 Las Vegas to Oahu. For example, Oandasan, Nixon, and Costales all testified that


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 they each sold methamphetamine and/or collected drug proceeds for Defendant.

 They each traveled to Las Vegas with these proceeds, where Defendant met them

 and collected the money. Doc. No. 588, Trial Tr. 2-194-200; Doc. No. 589, Trial

 Tr. 3-63-69, 3-151-52. Further, the government presented evidence that Defendant

 arranged to have methamphetamine packaged in cans for shipment to Oahu, and

 Nixon and Oandasan testified that they received, and FBI recovered,

 methamphetamine packaged in this fashion. Doc. No. 588, Trial. Tr. at 2-124-31,

 2-187-88; Doc. No. 589, Trial Tr. 3-147; Pl.’s Exs. 26-31, 35A.

             Regarding the specific March 23, 2007 transaction, Tabanera testified

 that Kaowili introduced him to Cruz as Kaowili’s cousin so that Tabanera could

 purchase one pound of methamphetamine. Tabanera testified that he met Cruz on

 March 14, 2007, but because the “chickens” (as Cruz referred to it), had not arrived

 yet, they had to meet again on another day. Doc. No. 590, Trial Tr. 4-148-49.

             Kaowili then had a series of conversations with Cruz and Defendant

 during the evening hours of March 19, 2007. In the first conversation, Cruz tells

 Kaowili to speak with “Uncle,” Defendant’s nickname:

             Cruz:        (unintelligible) . . . alright-alright, here we go, OK,
                          you know what, um, I would like you talk to uncle
                          you know that way (unintelligible) we clear, make
                          it clear, that shit, you know what I mean? And
                          then um, especially, explain him everything, you
                          know, explain him what’s up and everything, you

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                          know, that’s all I want and after-after-after he pau
                          talk to you, he going to call me back, then I call
                          you back, oh (unintelligibly) to you, OK?
             Kaowili:     OK.

 Ex. 69.

             Kaowili then spoke with Defendant about his earlier conversation

 with Cruz and introducing his “cousin” (Tabanera) to Cruz. Defendant then

 confirmed that they would “fight chickens” on Wednesday:

             Defendant: . . . . so do you want to still fight roosters?
             Kaowili:   Yeah, yeah. (unintelligible) I told them the plan,
                        and I told him you know now now, I spoke to you
                        cousin down here about how we going to fight
                        chicken and he kinda agrees with it, I going to
                        purchase one, I going to introduce, introduce him
                        to my cousin, and from there, we going to work
                        things out from there, instead of me, you know,
                        you know what I mean?
             Defendant: Yeah?
             ...
             Kaowili:   I got to build, because I, I, I like be, I going to be
                        involved, but I going to be out of sight, I going to
                        overlook the situation, you know what I mean?
             Defendant: Um hum.
             ...
             Defendant: Go, go and talk, yeah go and talk to him, and you
                        guys define the plan how you going to fight the
                        chickens, and then he’s going to let me know, you
                        know, and um, I, I’m here, I take care of them
                        here, I doing my part here, you know like now we
                        going to be straight um, you know any problem
                        understand, you call me this phone, right now here,
                        that you have right now, call me up, it’s going to
                        be um, only in like night time.

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                 Kaowili:   Oh, night time, this number?
                 Defendant: Yeah, like night time I either call you, you know,
                            after, after six seven from here you can call me,
                            because I want to keep it off in the daytime, and
                            you know.
                 Kaowili:   OK, OK, I talk to him, I don’t know
                            (unintelligible) um are we still fighting the um
                            chickens on Wednesday, or the derby got delayed?
                 Defendant: Wednesday is (unintelligible) yeah, yeah, should
                            be (unintelligible) or like, I believe it going to be
                            Wednesday. Talk to him tomorrow, you guys can
                            talk to that cousin, and I can, I going to go talk to
                            him, and then from, from that you guys can just,
                            you know, decide what you guys going to do there.

 Pl.’s Ex. 70.

                 After Kaowili spoke with Defendant, later that evening, Cruz called

 Kaowili and left the following message confirming that they would “buy some

 chickens” on Wednesday:

                 Cruz:       Hey bro, I think that everything is-is alright now, I
                             mean um, I mean you talked to him already so it’s
                             going to be cool, so um, I give you a call
                             Wednesday to see what’s up, OK? Let see if we
                             go buy some chickens or something. . . .

 Pl.’s Ex. 71.

                 On Wednesday, March 21, 2007, Cruz and Kaowili met, just as

 Defendant and Cruz had confirmed in their previous conversations with Kaowili.

 Cruz, however, had to delay the “fight” due to “trouble” in Mexico and therefore

 rescheduled for Friday at the Zippy’s restaurant in Wahiawa, Oahu:

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                 Cruz:       Um. We being here lately, we have a little trouble
                             because you know, that they fucked up in Mexico.
                             You know, the government.
                 Kaowili:    Uh.
                 Cruz:       (unintelligible) like I said. But uh, the deal right
                             now is that the thing is on the way now.
                 Kaowili:    No kidding. Okay.
                 Cruz:       It’s on the . . . it’s on the way of for you now.
                             Okay so, I just going call you. Uncle told me, he
                             will talk . . . calling you . . .
                 ...
                 Kaowili:    So where we going fight, though? When we going
                             fight with Larry?
                 Cruz:       Saturday. Uh Friday. Friday for sure.
                 Kaowili:    For sure.
                 Cruz:       But the other hundred percent, for sure Friday.
                 Kaowili:    No meet someplace else or you know too much
                             time.
                 Cruz:       Okay. Okay, I know. So what we gonna do.
                 Kaowili:    So I going call you, and I . . .
                 Cruz:       Let’s meet at Zippy’s Wahiawa.

 Pl.’s Ex. 72.

                 Any doubt existing as to the meaning of these phone conversations --

 that is, whether they relate to a drug deal or a chicken fight -- was lifted when Cruz

 met Tabanera on Friday, March 23, 2007 at the Zippy’s Restaurant in Wahiawa to

 sell him one pound of methamphetamine. Doc. No. 590, Trial Tr. 4-151-54; Pl’s

 Exs. 43, 44A, 74. That Cruz in fact sold methamphetamine (and not a chicken)

 provides clear context to the conversations leading up to the drug transaction,

 regardless of whether the jury accepted Kaowili’s explanation of the conversations.


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 In other words, the conversations of March 19, 2007 led directly to the events of

 March 23, 2007 and thus these conversations necessarily involved the sale of

 methamphetamine. Nixon further corroborates this conclusion by confirming that

 the one pound of methamphetamine sold by Cruz on March 23, 2007 was obtained

 from Defendant. She was aware that Cruz had obtained two pounds of

 methamphetamine for distribution, and wanted to obtain both pounds for her

 further distribution, but was told by Cruz that “Uncle” told him to sell one pound

 to Kaowili. Doc. No. 589, Trial Tr. 3-156-57.

              This evidence connects Defendant to the March 23, 2007

 methamphetamine transaction in a concrete and direct manner such that Kaowili’s

 testimony was unnecessary to the jury’s verdict on this Count. While Kaowili

 explained the phone conversations between himself and Cruz and Defendant, given

 the context of these conversations and all of the evidence presented, no explanation

 by Kaowili was necessary to tie Defendant to this transaction. Accordingly, given

 the abundant evidence explained above, the withheld impeachment evidence is not

 material -- that is, there is no reasonable probability that disclosure of the

 impeachment evidence would have changed the jury’s verdict as to Count 7.

              Finally, the court finds that the withheld impeachment evidence is not

 material to Count 1 of the FSI, conspiracy to possess with intent to distribute and


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 to distribute methamphetamine. Beyond the evidence regarding Defendant’s

 involvement with the March 23, 2007 transaction, the government presented

 significant evidence separate from Kaowili’s testimony regarding Defendant’s

 involvement in the drug business, including (1) Tufele’s testimony that he canned

 methamphetamine on two separate occasions in Las Vegas for Defendant, id. at

 2-124-31; see also Pl.’s Exs. 2 (rental agreement for storage unit), 21 (flight

 information for Tufele); (2) Oandasan’s and Nixon’s testimony that they received

 methamphetamine through the mail which was packaged in metal cans, id. at

 2-187-88; Doc. No. 589, Trial Tr. 3-147; (3) Oandasan’s, Nixon’s and Costales’

 testimony that they each traveled to Las Vegas to transport money to Defendant

 from the sale of the drugs, Doc. No. 588, Trial Tr. 2-194-200; Doc. No. 589, Trial

 Tr. 3-63-69, 3-151-52; Pl.’s Exs. 23 (flight information for Oandasan, Costales and

 Nixon), 25 (hotel information); (4) Oandasan’s testimony that Defendant came to

 Oahu in September 2006 for less than 24 hours to collect money, Doc. No. 588,

 Trial Tr. 2-201-02; Pl.’s Ex. 23 at 81, 83 (flight information for Defendant);

 (5) Nixon’s testimony that Defendant assured her that he would make sure she still

 received methamphetamine to sell after she was short on payment, Doc. No. 589,

 Trial Tr. 3-151-52; and (6) evidence that Defendant was aware that he was under

 surveillance. Doc. No. 589, Trial Tr. 3-162-63; Doc. No. 590, Trial Tr. 4-55; Pl.’s


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 Ex. 61.

             While Tufele, Oandasan, Nixon, and Costales were impeached to

 some degree, their testimony was corroborated with evidence and they presented a

 consistent story that Defendant was in charge of the Las Vegas operation of

 sending methamphetamine to Oahu. Kaowili’s testimony regarding the November

 17, 2006 and March 23, 2007 transactions was not necessary for conviction on this

 Count of the FSI.

             In sum, because the withheld impeachment evidence does not

 undermine the verdict on Count 1 and 7, the court DENIES Defendant’s Motion

 for a New Trial on these Counts.

                                V. CONCLUSION

             Based on the above, the court GRANTS in part and DENIES in part

 Defendant’s Motion for a New Trial. Defendant is granted a new trial on Counts 6,

 11, and 12 of the First Superceding Indictment, and his conviction on Counts 1

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 and 7 still stand. The court will schedule a status conference with the parties to

 discuss the next steps in light of this Order.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, April 2, 2009.




                                           /s/ J. Michael Seabright
                                          J. Michael Seabright
                                          United States District Judge




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 Gaitan-Ayala’s Motion for a New Trial




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